                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                CHICAGO DIVISION

                                            :
In re:                                      :
                                            :
   Juliana Lots                             :    Case No.: 15-03723
                                            :    Chapter 7
         Debtor.                            :    Judge Eugene R. Wedoff
                                            :    *********************
                                            :


                                   NOTICE OF MOTION

Notified via Electronic Filing

U.S. Trustee
Patrick S. Layng
Office of the United States Trustee, Region 11
219 S. Dearborn Street
Room 873
Chicago, IL 60604

Allan J. DeMars
Spiegel & DeMars
19 S. LaSalle St. Suite 902
Chicago, IL 60603

Alexey Y Kaplan
Attorney for Juliana Lots
Kaplan Law Offices P C
950 Skokie Blvd. Suite 310
Northbrook, IL 60062
alex@alexkaplanlegal.com

Notified via US Postal Service

Juliana Lots
934 E. Glenwood Road
Glenview, IL 60025

Juliana Lots
650 W Wayman Street #504C
Chicago, IL 60661
15-004392_SLT
Kovitz Shifrin Nesbit
750 Lake Cook road, Ste. 350
Buffalo Grove, IL 60089

Trio Garage Park Condo Assoc.
1200 N. Ashland Ave., Ste. 550
Chicago, IL 60622

Please take notice that on April 22, 2015, at 9:30AM, or as soon thereafter as I may be heard, I
shall appear before the Honorable Judge Eugene R. Wedoff, 219 South Dearborn, 744, Chicago,
IL, 60604 or before any other Bankruptcy Judge who may be presiding in his/her place and stead
and shall then and there present the accompanying motion. At that time and place you may
attend if you so choose.

                                  AFFIDAVIT OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
the attached motion upon the parties listed above, by causing same to be mailed in a properly
addressed envelope, postage prepaid, from 1400 Goodale Blvd, Grandview Heights, OH 43212,
on the 3rd day of April, 2015, unless a copy was provided electronically by the Clerk of the
Court.

Date April 3, 2015                                   /s/ Shara C. Cornell
                                                    Signature




15-004392_SLT
                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the foregoing Notice of Motion for Relief

from the Automatic Stay (First Mortgage) was served on the parties listed below via e-mail

notification:

U.S. Trustee                                       Alexey Y Kaplan
Patrick S. Layng                                   Attorney for Juliana Lots
Office of the United States Trustee,               Kaplan Law Offices P C
Region 11                                          950 Skokie Blvd. Suite 310
219 S. Dearborn Street                             Northbrook, IL 60062
Room 873                                           alex@alexkaplanlegal.com
Chicago, IL 60604

Allan J. DeMars
Spiegel & DeMars
19 S. LaSalle St.
Suite 902
Chicago, IL 60603


The below listed parties were served via regular U.S. Mail, postage prepaid, from 1400 Goodale
Blvd, Grandview Heights, OH 43212, on April 3, 2015:

Juliana Lots                                       Kovitz Shifrin Nesbit
934 E. Glenwood Road                               750 Lake Cook road, Ste. 350
Glenview, IL 60025                                 Buffalo Grove, IL 60089

                                                   Trio Garage Park Condo Assoc.
Juliana Lots                                       1200 N. Ashland Ave., Ste. 550
650 W Wayman Street #504C                          Chicago, IL 60622
Chicago, IL 60661

                                                     /s/ Shara C. Cornell




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                                               :    Chapter 7
         Debtor.                               :    Judge Eugene R. Wedoff
                                               :    *********************
                                               :



   MOTION FOR RELIEF FROM THE AUTOMATIC STAY (FIRST MORTGAGE)

The creditor, U.S. Bank Trust, N.A., as Trustee for VOLT NPL IX Asset Holdings Trust, hereby

moves the Court, pursuant to 11 U.S.C. § 362(d) to lift the automatic stay from the estate the

following real property:

          650 W Wayman Street #504C, Chicago, IL 60661 (hereinafter the "Property").

In support of the motion, the Creditor states the following:

         1. This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334 and General Rule

2.33 of the United States District Court for the Northern District of Illinois. This is a core

proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion are proper

under 28 U.S.C. § 1408 and 1409.

         2. Juliana Lots (hereinafter ''Debtor'') filed a Chapter 7 case on February 4, 2015

(hereinafter the "Petition Date").

         3. As of the Petition Date, the Creditor was the holder of a claim secured by the

Property, more particularly described in the Mortgage, a copy of which is attached as Exhibit

"A".

15-004392_SLT
       4. The above described Mortgage was given to secure a promissory note (hereinafter

the "Note"), dated December 21, 2007 and made payable to the Creditor in the original sum of

$291,299.00. A copy of the Note is attached hereto as Exhibit "B".

       5. The Creditor perfected an interest in the Property, more particularly described in the

Mortgage, recorded in Cook County Recordings Office on January 15, 2008. Evidence of

perfection is attached as Exhibit "A".

       6. As of March 11, 2015, the outstanding principal of the Note was $286,165.48 and the

outstanding interest was $104,790.83.

       7. The Property is burdensome and/or of inconsequential value and benefit to the estate.

Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for these

reasons:

       a.      Debtor has no equity in the Property. Creditor believes that the Property has a
               value of $250,000.00 based on the Debtor's Schedule A, which is attached hereto
               as Exhibit "C". The balance on Creditor's first mortgage exceeds the value of the
               Property. Based upon the lack of equity in the Property, Creditor asserts that the
               Property is burdensome and/or of inconsequential value and benefit to the estate.

       b.      Debtor intends to surrender the Property located at 650 W Wayman St 504C,
               Chicago, IL 60661 according to the Statement of Intent filed.

       WHEREFORE, Creditor prays for an Order Terminating the Automatic Stay of 11 U.S.C.

§ 362 of the Bankruptcy Code as to the Creditor and its principal, successors, heirs and assigns

with respect to the subject property located at 650 W Wayman St 504C, Chicago, IL 60661.

Additionally, Creditor requests the Fed.R.Bankr.P. 4001(a)(3) be waived so that the Order

Terminating the Automatic Stay have immediate effect.

                                                     Respectfully submitted,

                                                     /s/ Shara C. Cornell
                                                     Shara C. Cornell (02118-2011)
15-004392_SLT
                Sarah E. Willms (28840-64)
                Stacey A. O'Stafy (0070386)
                Keith Levy (6279243)
                Manley Deas Kochalski LLC
                P.O. Box 165028
                Columbus OH 43216-5028
                614-220-5611; Fax: 614-627-8181
                Attorneys for Creditor
                The case attorney for this file is
                Shara C. Cornell.
                Contact email is sccornell@manleydeas.com




15-004392_SLT
                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay (First Mortgage) was served on the parties listed below via e-mail notification:

U.S. Trustee                                        Alexey Y Kaplan
Patrick S. Layng                                    Attorney for Juliana Lots
Office of the United States Trustee,                Kaplan Law Offices P C
Region 11                                           950 Skokie Blvd. Suite 310
219 S. Dearborn Street                              Northbrook, IL 60062
Room 873                                            alex@alexkaplanlegal.com
Chicago, IL 60604

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Chicago, IL 60603


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                                                    Trio Garage Park Condo Assoc.
Juliana Lots                                        1200 N. Ashland Ave., Ste. 550
650 W Wayman Street #504C                           Chicago, IL 60622
Chicago, IL 60661
                                                   /s/ Shara C. Cornell




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